.KH}' :

' UNKNOWN EVANSTON POLICE OFFICERS

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UHL::PF.D: D::H‘i¥: NORUT]:IEET§N:T§§;TT:RE§§§§E§YHT DOG-KETED
SEp . 3 2004
SAY$YW CL§§;{?JQUR,- n n ` n . n _` v
Plaimin; d F »
v.' ”'

CITY 0F EvANsToN, EvANsToN ` oLICE
omcERs G. HoREMrs, M von \, and

 

Defendants. ` 7 ) . vi,¢».clsrai=mzJUDGELE\/n~i
COMPLA

Plaintiff, SAYY[D QADRI, through his attorneys, LOEVY & LOEVY, complains

` of Defendants, CITY OF EVANSTON, EVANSTON POLICE OFFICERS. G.

_ HOREMIS (Star No. 163), M. YORTY (Star No. 171), and UNKNOWN EVANSTON

POLICE oFrlcsRs, as fouo_ws:`
ll Introduction l

: 1._ This case is brought under 42 U.s.c. §1983 to redress the deprivation _
under color of law of Plaintifi’s rights as secured by the United States Constitution.

-2.` . Speciiically,. PladewB_me victim of a vicious beating at the hands of
mnltiple police officers in a bathroom stall in the Evanston Police Department.

3. ' 'ihe location of the beating was no coincidence. The reason why the
officers chose the bathroom stall was because it was the only place in the entire police

station that is not monitored by video recorders.

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§ 4. _ Althougli the officers took§ steps to§ ensure that t§he beating would not be
§§ - §§

capture image§ of Plaintiff being pushed into the stall,

 

 

 

whereupon several effects e §§ thestall, while others§ stoo§d §outside and watched. The

 

§§§ |§§  l§

recordings shohr Plai

 

 

  
 
   
  
   
  
 
  
 

 

 
   
 
 

wound that later requ '

 

incorporated into this . 111

 

§§§§ tojclose A digital opy §thes¢ yici§go mage§S is_

 

 
 

 

 

 

 

 

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§ § proper§a_§s Plaintiffis aii;§ _` __ §§
_a municipal corporation

all residents of this judi§§ '§

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- occurred within this di

 

 

 

 

 

 

 

 

 

 

 

 

 

 

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- E___vans§ton Polic§e§ car with its emergency lights on so Plaintift` pulled his car over to§ the
ti§§ side of the road.

10. §Defendant Horemis was the Eva_n§ston Police .Ofl;i§cer who pulled Plainti_tf
over.§ I§-Ie did so based on an alleged unlawful right turn on red.

§ _ 11§§._ § After pulling over P_laintii`f, Defendant Horeinis learned that Plaintiff’ s
drivers licenc§e had expired De_fenda_nt I_§-Ioremis handcuffed Plaintift’s hands behind his
back and then drove him to the Evanst§o§n§§ Poli§§ce §§Department station. At no time did
P_Iain§tif_l` resist being arrested for the minor traffic int`ractions.§

§ ' §§§12.-_ § _ ___Duri§n§g§ the drive to §th§e station, [_)efenda§nt Ho_remis continually complained
to Plaintiff about how _bad §t§he §d_ay__ had been §f_or Horeinis. §
_ ___The B§eating -

§ 13`. `§§§ ' __Whe§i_i they reached the station, Defer§idant I-_lo_remis forcefully grabbed
Pla_inti_ff an_§d removed him frpm§ the marked police car with§ more force than was
§ _reasonab§l_e_. §§___P§la_intiff continued to cooperate and the two of them then walked to the.door-
ofthestation § § _ § _ _ § §

_14.§ _ §§§_After entering the statino§i:_i, Defendant I-_Iorei_nis told Plaintiff` that the police
§ station _is _‘-‘_i_iiy _house§, now you listen §t§o me§’§’ or wo_§r_ds to that___atf§ect._ _Plaintift` asked for his
traffic ticket __so §h_e could leave. § § § § §
_ _15. Wh§en Plamtiti` persisted iii _§co_ntendin_g_ that he_ _shoi_ild be ticketed and

allowed t§o leave,_§ Defendant H§oremis, who is much __Iarger than Plaintiff, grabbed Plainti_ff

3

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rigid dragged him out of the clerical area where they were standing.

a
§*ti- 16. Defehdanc Horemis pulled Plainarr through a short hallway and into a

` bathroom. Two additional Evanston Police Ofticers followed closely behind. They were

_ Defendant Yol'ty and an officer whose identification is unknown (“Ofiicer No. 1”).

h ' n -l`7. During this time period and all of the events described below, Plaintii`i°s

hands were cuffed behind his back, leaving him helpless to defend himself

l 18. _ Follovved by the two other police ochers, Defendant Horernis led Plaintiff`

y mto the bathroom and then I-Ioremis forcefully shoved Plaintiff into a bathroom stail.

Horemis entered the stall directly behind Plaintiff and choked him with both of his hands

_' while Yorty and Ofiicer No. l stood outside the stall and looked m. Horemis lifted

Plaintlii` off the ground by his neck as he continued to choke him

z _': 19 l Yorty then entered the bathroom stall and grabbed Plaintiff’s arms, allowing ` `

f lt ` Horemis a free hand, which he used to slam Plaintlfi’ s face into the bathroom wall. That

l :_b_low tore a gash_ near Plaintifi"s left eye, which'began to bleed profilsely, a wound that

later needed six `stitches_"to'close.. One or both of the officers drove Plaihtifi’s leg and

z h knee into the plumbing fixtures in the bathroom stall.

20. During the above-described time period, another Evanstol`i Police Oflicer
arrived and stood outside the stall watching the beating (“Ofiicer No. 2”)
2l. '- At some point during the beating, Oflicer No. l stopped looking inside the
stall and took a position as a lookout at the door

4“__\

l

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1 7 22. Plaintiff became dizzy and had difficulty seeing because ofthe blood

- digitng from his eye. He also had bruises on his arms and legs.

23. Afcer Plaintiff started bleeding heavily, Horemis pulled him from the stall

_ and slammed him down on a bench in the bathroom. Horemis then repeatedly violently

threw P_laintiff against the wall. Yorty joined I-Io_remis in taking turns slamming Plaintiff

` against the wall,' and Defendant Hor_emis again choked Plaintif`f as he sat on the bench.

_Unlike the events that occurred inside the"stall: this violence was caught on tape._

24._' '_ Throughou_t the beating by Horemis and Yorty, neither Ofi‘icer No. 1 or 2

did anything to intervene to stop any _of` the abuse. _R_ather, Off`ice_r No. 1 acted as a

lookout while th__e serious beating was being inflicted on Plaintiff.

t 25_-_ `: Aft_er the beating, another Evanston Police Ofticer (“Ofl:icer No. 3”) Wh°

' was wearing a white uniform shirt ca_n_ie to the bathroom Plaintiff told Ofiicer No. 3 that

 

he had been beaten up by the Evanston Police officers, but Oi_`i‘icer No_. 3 took no action to

` - investigate

Plaintif_f Reqnires Medical Attenn°`on
`_ n _ 26. l ` As P.l_a_intift` continued to'bleed, someone telephoned for an ambulance,
which arrived about five or ten minutes later

" 2..7. An emergency medical technician treated Plaii_itift` at the station and then

l l l stated that Plaintit`f' needed to go to thel hospital

28 D_efendant Yorty traveled with P_laintifi` in an ambulance to and from

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Y_vanstoi'i Northwestern Hospi_tal, where Plaintiff was given six stitches to close the
vgo*hnd to his eye.
l 29. Defendants Yorty and Horemis drove Plaintiff back to the station from the
hospital, as they drove they openly discussed among themselves how to lie about what
' happened t_o Plaintiff to make their abuse look like Plaintiff’s fault s
n "'30.' After his return from the hospital, Plaintiff was booked, photographed
fingerprinted and held' in the Evanstoli Pnlice Department lockup overnight and then 111
Cook _Co_unty Jail until his bond was paid the next night and he was linal_ly released and
l allowed to go home. 7

_ 7 Defendants _Concoct Sham Criniinal Cliarges _
n s1 3 l Defendants _Yorty, _H_orcmis,' and Oflicers No. l and 2, together with other
s syet unknown co-cons_pirators, all conspired to invent a story that Pla_in__tiff resisted
__ arrest and committed aggravated battery and criminal damage to property of the bathroom
' ` stall where the beating took place _ l l l
" 32 To protect themselves, Defendalit_s went so _far as to file criminal charges
s s against kiamtiH` based on these false allegations Even though the criminal charges were
based en _l_ies, the State’_ s __A_t_to_m_ey‘ s ofhc_e agreed to prosecute Plaintiff ol_i the bogus
charch s n n n
d l - 331 The Evanston Police Department initially reliJsed to release the security
camera viden, but then relel_i_t_cd`._ After reviewing those security camera".videos, the

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§tate’ s `Attomey’ s oflice dropped all prosecution against Plaintit_t`.

ii ` Plaintiil` Coinplains to Evanstoi`i Police Department

' \€v\`léi$

34.- -' Plaintiff attempted to file a complaint with the Evanston Police Department

_on March _,12 2004. During his first call, he was told that there was no one there who
could take his complaint He called several more times and was finally told that he had to
make an appointment to meet_with an investi-gator. He was told that he would have to
g lirieet the investigator at thescene of his beating, i.e., the Evanston Police Department n
` z station s s n
l ii 3:3. n Plaintiff gave a statement to the investigator and provided photographs of

':lhis wounds. He still has not heard any further about the results of the investigation even
v ` :lthough it has n__o_w been more than five months after his beating.
l ` l 36. l As a result of the Defendants’ wrongful infringement of Plaintift's rights,

5 Plaintifi` suffered damages, including but not limited to physical pain and suffering l
_ _ z mental distress and anguish n n l s
n nn s Count I- 42 U. S. C. § 1983: Excessive Force
37.°_ ` P_ia_inarf realieges_ ali paragraphs m this csmpiaiat as irfuny stated herein '
_ 38. l ll-)efendant_ Ofiicers subjected Plaintiff to excessive force in violation of the
;Fourth Amendment using objectively unreasonable force in the manner described abovc.__ _
39. lido`reov_er, other Defendant Ofii`cers stood by_ and watched the violence s

s against Pl_aintif_`i‘§ yet failed _to intervene

 

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ig _40. ` Plaintiff did not resist or evade arrest, did not threaten to harm Defcndant
it
0£§eers, did not attempt to flee, and was arrested on a minor ohense. c
n 41. - As a result of this misconduct Pla_intiff suffered physical and emotional

' injuries, lost wagcs, and other damages '

42. 'Ih_e misconduct described in this C_`ount'was undertaken under the policy ~
and practice of the Eva_nstoi_i Police Department. in that: s
a. - As a matter of both policy and practice, the Evanston Police

l)cpartment directly cncourages, and is thereby the moving force bchind, the very type of

` ` " _' misconduct at issue here by failing to adequater train, supervise and control its ofticeis,

1 ':; such that its failure to do so manifests deliberate indifference;

_b. --` As a matter of both policy and practicc, the Evanstori Police `

' n ;- Dcpartmcnt facilitates the very type of misconduct at` issue here by failing to adequately

; f punish and discipline prior instances of similar misconduct thereby leading Evanston
Police Officers to believe their actions will never he scrutinized and, in that way, directly

` iencouraging hiture abuses such as those affecting Plaintih`; specilically, Evanston Police

:_ Ofticcrs accused of excessive forcc can be confident that the Ohice of Profcssional
§Standards will not investigate those accusations iri earnest and will rchise to recommend
" icl:isc_ip-lme even where-the iOhicer has engaged `in__€?iC¢SSlV¢_ fOIC€;`

l l l ii c. Generally, as a matter of widespread practice so prevalent as to

comprise municipal policy, ohi_cers of the Evanston Police Dcpartment abuse citizens in a

8

 

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ft_ji_anncr similar to that alleged by Plaintih" in this Count on a h'equcnt basis, yet the
- E%§azhston Police Departmen_t takes complaints and makes findings of wrongdoing in a
disproportionately small number of cases; l
l 3 ' d. ' Municipal policy-makers are aware of, and condone and facilitate by
` their inaction, la “code of silence“ in the Evanston Police Deparlinent, by which officers
fail to report misconduct committed by othcrohicers, such as the misconduct at issue in
thiscasc;and ” l l -'-! l ` l
n n ` e._ ' ' The City of Eva_nston has failed to act to remedy the patterns of
j abuse describe in the preceding sub-paragraphs, despite actual knowledge of the same,
n _ thereby causing the types of' mjuries alleged here. _ n
l " 43. '  As a result of the above-described molith infringement ofPlaintih’s
rights, Plaint:ih` suffered dainages, including but not limited to mental distress and
anguish t _ _ _ 1 . -
t _ _ n _ Count II~ 42 U. S. C. § 1983: U_tilawful Seizure
' _ 44 Plaintih`reallcges all paragraphs in this Complaint as if hilly stated hcrcin.
45 . As described above Det`endant Ofiicers falsely arrested Plaintih` for
l aggravated battery and criminal damage to property. Th`ey further unlawhilly extended
Ptaintih’s' detention without justihcati'on and without probable cause. n l

46. The misconduct described i_n_ this Count was undertaken with malice,

c willhilness, and reckless indifference to the lights of others

' 9

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§ __ 47._ _ As a result of the above-described wrongful infringementh Plaintifi’s

fe
rigi§, Plaintiff suffered damages, including but not limited to mental distress and

anguish
48 rI'he misconduct was undertaken under the policy and practice of the
` Evanston Police Departriient in the manner described above. n

COUNT _III 42 U. S. C. § 1983:
Conspiracy to Deprive Coiistitutional Ri'glits

l zl 49`. Plaintiti`re_alleges all paragraphs 111 this Cornplai'nt as if fully stated herein.
_ : l50. Defendant Officers conspired to jointly take Plaintiff into the bathroom stall _
3 5 " ito beat him

7 _' n 51. s A_fcer beating Plaintift; Defeiidant Oft'icers fiirther conspired to initiate

x - _' :_ baseless criminal charges against Plaintii`f in an effort to conceal their beating of him.

l t l .-5_:2. "' The `Agr¢en`ients referenced m the Pl'¢_°edmg Paragl_'aph are the p_o_licy and -

l `__ practice of the Evanston Police D_epartinent, and were tacitly ratified by policy-makers for

 

l " '_ 1 t j the City of Evanston with final policymaking authority The Evanston Police Depa`riment_
n § fails to maintain a proper investigation procedure to provide redress for the civil rights
-' t _-: violations of the type suffered by PlaintiH". t
54 l -" 53. _ As a direct and proximate result of the illicit prior Agreeinent referenced
` above-in Plaiiltitf's rights were violated'.
' -` 54; . speeineaiiy, Piai_miffwes beaten ena'eubjeeted re e_n'ininei preseeucien

despite the lack of any probable cause for the prosecution
' -' ' 10 `

y t CaSe: 1:04-C_\_/-0577O limument #: 1 Filed: 09/02/04 Page lH 19 Page|D #:_11

§§ 55. ' Because of the Evanston Police Department’s failure to provide adequate
_ r;~ress for citizen complaints even where meritorious, Defendant Oflicers are encouraged
' to believe they can act with a sense of` impunity and without fear-of any repercussions,
even where they purposefully violate the rights of citizens they are supposed to protect
' In this manner, the alleged Agreement proximately caused Plaintiff’s' injuries iii this case.
56-. _ Independently, during Plaintiff's prosecution, each of the Defendants
further conspired to deprive Flamdffof exculpatory materials to which he was lawfully
entitled. That evidence ultimately led to the end of the prosecution against PlaintiH`.
_ 57 I_n this manner, Defendant OiHcers, acting in concert with other unknown
tsc-conspirators conspired by concerted action to accomplish an unlawful purpose by an ` '
' lu'i`iiswiiii means n n n in
'_:_58. l lnflirdierance of the conspiracy, each of then icc-conspirators committed
overtactsandwas air-otherwise wi_ll;[iil participant in joint activity. l
nn 59 The misconduct desciihed in this Count was undertaken with malice, _ -'
willfl_ilnes-s_,' and reckless indifference to the rights of others..- -
s _60. ` '. As'sprcx`iinaic result cfch ccsspiiscy, iiisicd_i_rsdffc_rcd nnsscisi damsgc,_
_- _' physical pain and suffering as Well as severe emotional distress and anguish. l
6_.'1. l l The misconduct described` in this Count was undertaken pursuant to the
policy and pisci_i_cc cf ihc Chi'ccgc Pciicc ocpadmcnr_ in thc manner dcscribcd mci-c finiy
l in preceding paragraphs l

` _`11_=

 

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COUNT IV- State Law Claiiii: Assaiilt and Battery
_62. Piaiatitrrcancgcs ali paragraphs ia this complaint as iffuiiy stated hcrcia.
_ §§ 63§. As described in the preceding paragraphs, the conduct of the Defe_n§dant
_- Oi‘t'icers,acting under c§lor§ of law and within the scope of their employments constituted
§ unjustified and offensive physical contact, undertaken wilthlly and wantonly,
proximately causing Plamtifi”s bodily mjui'ies.
§§ §§ 64 '_§ T.he misconduct described in this Count was objectively unreasonable and
_ _ §§was undertaken intentionally with willful indifference to §Plaintifr"s constitutional rights.
5 l The misconduct described in this Count was undertaken with malice,
§ willfulness, and reckless indifference to the rights ot` others

65 As a result §o§f the offensive touching, Plamtiff Sustamed bodily mju§nes’

§ '_ including but §not limited to a reasonable apprehension of great bodily hann.

  

__ l §C(§)UNT§ V §§Sta§t§_e Law§ Clai§i:i_i_: F§a§ls§e imprisonment
§ 6 Plamtiff reall§eges all paragraphs in this Complaint as if fully stated herein.
_ . , _l 68 Plamuffwas arrested z§m§d impriso§ne§d, and thel§'€b}' had his liberty t§o move

§ about unlawfully restramed, despite Defen§dant Officers ’knowledge that there was no

probable cause for doing so.§_ §§?

12 ..

 

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`§ § 69. § § Defendant Officers’§ actions set forth above were undertaken intentionally,
jam malice and reckless indifference to Plaintifi‘s rights.
7 0. As a result of the above-described wrongful infringement of Plaintiff's
§riglits, Plai§ntiff suffered damages, including but not limited to mental distress and §
§ §angu§ish. § § § § §
§ 71. 'l§lie misconduct described in this Count was undertaken by the Defendant
Ofl'ic§ers§ within the scope of their employment such that their employer, CI'I`Y OF
§ E§VANST§§ON§, is liable f§or their actions.§ § § § §
C§O§U'NT VI- St§§at§e Law§ Claim: Malici§ous §Proseeution
§ `§ 72§. §Plaintiff realleges all paragraphs in this Com§plaint§ as if fully stated herein.
§ - §73.' §§Plaintifl" was improperly subjected to judicial proceedings for which there
§ § was §n§o§§ probable cause. These judicial proceedings were instituted and continued § §
§ §§ '§ §mahciously, resulting in§ irijury§, and all such proceedings were §temiinated' in Plaintifl's
' §fav§§or§ §in§ a manner indicative of mnocen`§§c§e. §
7§4i.§ ` §lje§fei§idant Ofiicers accused §§I§’lai§i§itiff§` of criminal activity knowing those §
accusations to be§ without probable c§a§i§i§se, and they made written and other statements
with the intent of exerting influence §t§c§§§):§§i`i§§§istit§ute and continue judicial proceedings
75 .§ S§§t§atements of the D§efend§a§n§§t O§f`t§`icers regarding _Plai`ntiff's alleged
culpability were made with knowledge §t§hat the statements were false and peljurcd.§ In so

doing, the Def_§`ei§idant Off`i§cers fabricated evidence and withheld exculpatory information

` 13

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§ _ §§ § 76. §§ § The misconduct described in this Count was undertaken with malice,
uzihi]§ness, and reckless indifference to the rights of others.
§77§. As a§ result of the above-described wrongful inft§'ingement of P§I§aintiffs
§ §rights§, he has suffered financial and other damages, including but not limited §t_o
- '§s§:i`ibstantial§m§_ental stress and anguish. § §
- §7§8. §The misconduct described in`this Count was undertaken by the Defendant
§§ §Ofl'i§cei§'§s§ within the scope of their employment such that their employer, CITY OF
EVANSTON, is liable for their actions
§ C(§)UN'§I§` §VII- St§ate §L§aw Claim: §Civil §Conspiracy§ §
7§9_. Plai§ntiH realleges all p§arag§raphs§' in this Complaint as if fully§ stated herein.
l 80.§§ As described§§ more fully in the preceding paragraphs Defendants§ acting in
§§ concert with other known and unknown co-conspirators, §c§on_spired by concerted action to
-§§§`acconiplish a§n unlawful purpose by§§ an unlawful means. §
§ §§ §§§ §§ 81`. §§_In furtherance of the conspiracy, Defendants§ committed overt acts and were
§' othei§'wise willful participants in joint activity. § §
§ § § §§§82. § The misconduct described`§ in this §§Co§i§i§§nt was undertaken with §malice,
§ § willfulness, and reckless indifference to the rights of others.§ §

§§ - § 8§§3. A§s a proximate result ofD§efe_ndants'§§ §§conspiracy, Plaintiff suffered damages,

` including physical pain and suffering and severe emotional distress and anguish.

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_ t coUNT viii - state Law claim
3;:%»_‘-$}l t Intentiona_l Inflictioi_i of Emotional Distress

‘.‘
z t.

§8§4. Plaintifl" realleges all paragraphs i_n this Complaint as if fully stated`herein.
_ 85 . -' The acts and conduct of Defendant Ot_`ficers as set forth above were extreme
` _ and outrageous §Defendauts Oflicers intended to cause, or were in reckless disregard of
§ _th§e probability that their conduct would cause, severe emotional distress to Plaintiff.
§ §_ 86. §§ §Said actions and conduct did directly and proximately cause severe
§ emotional distress to Plaintiff§ and thereby constituted intentional infliction of emotional
§ § distress
§ § §§ h 8_7. 'i'he misconduct described in this Count was undertaken with malice§
§ §§ § - `williiilness and reckless indifference to §§the rights of others. §
§§8_8. §A§§s§ a proximate result ofDefendants’ w§rongti.il §acts, Plaintiti` suffered
§§ §;-§-; §§:damages,includmg severe emotional distress and anguish
§ §§ COUN§'I‘ I§X§- Stat§§e §Law §C_§lai§i§n: Respondeat Supen°or _
§ 8§§9_.P1aintiffrealleges all paragraphs in this C§ompl`ai§nt as if fully stated herein..
§ §§ §§ h _ 9§(§)§ §i§i§i§§ committing the§ a§§et`s§ alleged §in the preceding paragraphs', Defendant
§§ § § Oflicers were §§n§i_em§b§ers of,§ and agents of the Ev§anston Police Department, acting a§t all
§§ §§§§§ : §- relevant times within the scope of their§ employment §

§§ §.; §9§1§.§I§)efeii§dant City of Evanston is liable as the Pl`ln¢ipal_ for an torts committed

   

`§ §:§by it§s agents

--_-15

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§ _ COUNT X- State Law Claim: Indemnihcation
E':'_:z$- 92. Plainti_ff realleges all paragraphs in this Complaint as if fully stated herein
93. In Illinois, public'entities are directed to pay any tort judgment for
compensatory damages for which employees are liable within the scope of their
n employment activities. 735 ILCS 10/9-102.
l 94. Defendant th'cers are or were employees of the City of Evanston, and
: ' - acted rwithin the scope of their employment' in committing the misconduct described
lh¢r¢i"r»l§§ ._ _
l n l l Reqnest for Relief
" Plaintiif, SAYYI'D QADRI, respecthilly requests that the Court:
il z - A '__`eniar judgment in his favni_ and against Da_fandanis, CITY oF 1_~:vA_Ns_T0N,
l _"OFFICERS HOREMIS and YORTY and UNKNOWN POLICE OFFICERS;
z " B shull-award compensatory damages against Defendants CITY OF EVANSTON,
_ iii `:f ii oFFICERs HOREMIS and YoRTY and UNKNOWN POLICE 0FFICERS
C _ award attorneys fees against Dsfendanis, Ci'iY oF EvANsToN oFFicERs
’ :" `jHoREMIs and YoRTY and Ui~iKNoWN PoLlcE oFI-‘ICERS; _
* D_; inn .' award punitive damages against O_FFICERS HOREMS and YORTY and
` ':_'-UNKNOWN POLICE oi='FicERs; in ivan individual sapasiiiss- and

` _ E. ' giant any other relief thls Court deems just and appropriate.

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'Jury Demand

§
fe
§§ '5- Plaintii}`, Sayyid Qadri, demands a trial by Jury under Federaj Rule of Civil'

Procedure 38(1)) on all lssues so triable. .

. RESPEC'H""ULLY SUBMI'ITED,

 

._ Arth`ur L'oevy
Jon _Loe`vy

` . Ma`rk Reyes ._ §
' LOEVY&LOEVY
_312 North May Street, Ste 100
`_ 'Chicag'o,. IL 60607
. ‘_‘_'(312)2'43 5990_ _ _

 

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herein neith n ents the filing and service of pleadings or other papers as required by law. This form is authorized for
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Defendant(s):City of Evanston, Evanstan Police Ofiicers
Plaintiif(s): Sayyid Qadri G. Horemis, M. Yorty, and Unknown Evanston Police
Ofl'icers
County of Residence: Cook County of Residence:

Plaintif?f's Atty: Loevy & Loevy

Defendant's :
312 N. May Si., suiie 100 4 _ '
Ciiicago, IL 60601 7 ' - 5 I? 7 0

(312) 243-5900 '

 

II. Basis of Jurisdiction: 3. Federal Question (U.S. not a party)

114 guleilship of Principg! Parties

(Diversity Cnses Only)

1 JUDGE AMY sr. EVE

Plaintiff:- NIA
Defendant:- N/A

MAGl$T
mgng : 1. original Prnceeding RAE JUDGE LEVlN
hygime Suit: 440 Other Civil Rights
Mause of Action: 42 U.S.C. Section 1983

ylL Reguested in Complaint
Class Action:

Dollar Demand:
Jury Demand: Yes

VIII. This case IS NOT a refiling of a previously dismissed case.

 

 

Signature: g H°' __

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=UNITED S'-I`ATES DISTRICT COURT
NORTI~IERN DISTRICT OF ILLINOIS

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City of Evanston, Evan P ft U(:ers G. Horemis, M.
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lu the Matter of
Sayyid Qadri

Yorty, and Unlcnown E st

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APPEARANCES AR.E HEREBY FILED BY THE UNDERSIGNED AS A'I'IORNEY§)§OR:

Plaintiff, Sayyid Qadri

*:'\uDGE. AW 51

SEP _ 3 2004

 

MAG'SIMTE JllD£E_Lam»

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

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